                      UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF WISCONSIN
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KARL CHRISTOPHER WRIGHT, III,

                         Plaintiff,
      v.                                           Case No. 20-cv-496-pp

JUDGE YAMIHIRO,

                        Defendant.
______________________________________________________________________________

  ORDER DISMISSING CASE FOR PLAINTIFF’S FAILURE TO PROSECUTE
______________________________________________________________________________

      Plaintiff Karl Christopher Wright, III is representing himself in this 42

U.S.C. §1983 lawsuit. On March 27, 2020, the plaintiff filed his complaint, dkt.

no. 1, along with a motion to proceed without prepaying the filing fee, dkt. no.

2. The Prisoner Litigation Reform Act (“PLRA”) applies to this case because the

plaintiff was in custody at the time he filed the complaint. 42 U.S.C. §1997e(h).

Under the PLRA, a plaintiff must pay an initial partial filing fee as a condition

of proceeding without prepaying the entire filing fee. 28 U.S.C. §1915(b). For

the court to calculate that fee, prisoner plaintiffs must submit a certified trust

account statement for the six months preceding the date they file their lawsuit.

28 U.S.C. §1915(a)(2).

      The plaintiff did not include a certified trust account statement with his

motion. On March 30, 2020, the clerk’s office sent the plaintiff a letter telling

him that he must file that trust account statement within twenty-one days.

Dkt. No. 3. On April 6, 2020, the court received from the plaintiff a copy of a

printout of his commissary expenditures at the Milwaukee Criminal Justice



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Facility dated February 17, 2020 and two receipts for items he’d ordered while

at the Mendota Mental Health Institute. Dkt. No. 5. These documents were not

trust account statements—they showed that the plaintiff spent some money, or

ordered some items, but they did not show how much money the plaintiff had

in his inmate account.

      On July 8, 2020, the court issued another order, giving the plaintiff a

deadline of August 8, 2020 by which to file his trust account statement for the

six months preceding March 27, 2020. Dkt. No. 6. This order warned the

plaintiff that if he didn’t either file the trust account statement or ask for more

time to do so by that deadline, the court would dismiss the case without

prejudice. Id. The court mailed that order to the address that the plaintiff gave

the clerk’s office when he called on May 7, 2020.

      The August 8 deadline passed months ago. The court hasn’t heard from

the plaintiff since he called to update his address in May. At that time, the

clerk’s office staff told the plaintiff that he needed to file a written change of

address notice. He has not done that. The court understands that the plaintiff

may not have been in custody for the six months prior to March 27, 2020.

Perhaps he did not have a trust account statement. If so, he needed only to tell

the court that. He has not done so. The plaintiff has failed to comply with the

court’s order. The court will dismiss the case without prejudice under Civil

Local Rule 41(c). Because the court is dismissing the case without prejudice,

the plaintiff may refile it assuming the statute of limitations has not expired

and assuming that he is ready to comply with the court’s rules.



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     The court ORDERS that this case is DISMISSED WITHOUT

PREJUDICE. The clerk will enter judgment accordingly.

     Dated in Milwaukee, Wisconsin, this 6th day of November, 2020.

                                  BY THE COURT:


                                  ________________________________________
                                  HON. PAMELA PEPPER
                                  Chief United States District Judge




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